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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

INTERCEPT PHARMACEUTICALS, INC.              )
and INTERCEPT PHARMA EUROPE LTD.,            )
                                             )
                     Plaintiffs,             )
                                             )
              v.                             )   C.A. No. 20-1105 (MN)
                                             )   (CONSOLIDATED)
APOTEX INC. and APOTEX CORP.,                )
                                             )
                     Defendants.             )

                                   NOTICE OF LODGING

       PLEASE TAKE NOTICE that Plaintiffs Intercept Pharmaceuticals, Inc. and Intercept

Pharma Europe Ltd. hereby lodge with the Court an electronic copy of Intercept’s Technology

Tutorial.

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February 3, 2022
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2022, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

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